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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

UNITED STATES                                  )
v.                                             )
                                                     2:95-cr-0129-JHH-TMP
RODERICK DEWAYNE MEANS                         )



          MEMORANDUM OF OPINION REGARDING ORDER
       DENYING MOTION TO REDUCE TERM OF IMPRISONMENT
         The movant filed the above-styled motion (doc. #1677), commonly
referred to as an 18 U.S.C. § 3582 motion, on May 23, 2008, requesting that this
court modify or reduce his sentence pursuant to the retroactive crack cocaine
amendment to the Sentencing Guidelines which became effective on
November 1, 2007. He also requests various other remedies not subject to
consideration pursuant to 18 U.S.C. § 3582(c) and which, therefore, this court
declines to consider.1 Before this court directs its attention to subject motion, it
will set forth briefly relevant background, including a small portion of the
lengthy history of movant’s case.
         On March 18, 1996, following a jury trial of approximately two months,
Roderick Dewayne Means (movant) and numerous persons related to him, as well
as a number of people unrelated to him, were convicted under Count 2 (of a 133
count indictment) of violating 21 U.S.C. § 846 by conspiring to


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The undersigned was the trial and sentencing judge and is unusually familiar with the facts
and all the court proceedings, including the countless post conviction proceedings initiated
by movant, as well as many other co-defendants.
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distribute and possess with intent to distribute cocaine base (crack cocaine).2
Such conspiracy is herein referred to as the Means conspiracy. The following is
a summary description, supported by the evidence at trial, of the Means
conspiracy taken from the presentence investigation report prepared by the
court’s probation office for purposes of sentencing movant.


        The Means conspiracy began in or about 1988 and ended
        May 25, 1995, when the indicted co-conspirators were arrested. This
        conspiracy involved the defendants named in the indictment as well
        as others who have not been indicted. Members of the conspiracy
        had varying roles and degrees of involvement and entered the
        conspiracy at various times. In furtherance of the conspiracy, the
        defendants did the following:


        The defendants obtained cocaine and crack cocaine from
        various distribution points known as “crack houses” in Birmingham,
        Alabama. These crack houses were real property which the
        defendants and others located and used to store or “stash” cocaine and
        cocaine base prior to its distribution, as a pick-up point for
        distribution to other locations, and as a point from which to sell the
        cocaine and crack cocaine to customers, including minors. This
        operation began with one crack house, and later on into the
        conspiracy, as many as 10 crack houses were operated at one time.

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  Movant was also convicted under nine related substantive counts. Numerous other counts
did not name him as a defendant or were dismissed prior to trial. All custodial sentences
imposed upon movant were imposed to run concurrently with one another.
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   Some of the defendants taught indicted and unindicted coconspirators
   how to manufacture or “rock up” the crack from cocaine
   in its powdered form. Some defendants received large sums of cash
   for selling and distributing cocaine and crack cocaine. Some were
   paid in cash or drugs (“tops” or 10% of drugs sold) for selling,
   storing, and distributing the drugs. During the conspiracy period,
   minors were used to distribute drugs, and drugs were distributed near
   schools and playgrounds.


   Firearms were used and carried by some defendants to enforce
   collection of drug proceeds and to protect the proceeds from drug
   sales. Some defendants allegedly attempted to arrange for acts of
   violence to be committed against a law enforcement officer and a
   witness.


   The defendants purchased vehicles which were used to
   transport cocaine and crack cocaine to customers, and to travel to and
   from various sites in the facilitation of controlled substance
   distribution.


   The defendants and others developed surveillance and counter surveillance
   techniques and information sources both within and
   outside of law enforcement agencies so that co-conspirators could be
   notified of pending searches, raids, and arrests.

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   The defendants and others used standard telephones, cellular
   and mobile telephones, and pagers to facilitate the drug distribution
   conspiracy and the collection and distribution of proceeds from drug
   distribution. Business procedures were established where coded
   language was used to represent drugs and monetary transactions but
   with minimal discussion of drugs and money. The defendants used
   “street names” or aliases to communicate with each other to prevent
   law enforcement from determining their true identities.


   A “front” business, Father and Son’s Car Wash, was
   established and maintained under the guise of being a legitimate
   business, in order to attempt to conceal both the drug trafficking
   operation and its profits. Cocaine, crack, marijuana, and drug
   paraphernalia such as crack pipes, crack baggies, scales, etc., were
   sold from the building on both a wholesale and retail basis. A system
   was devised for obtaining, processing, distributing controlled
   substances/drug proceeds, and for secreting the proceeds, which
   ensured the continuity of the operation.


   In order to avoid the filing of Currency Transaction Reports
   and the I.R.S. Form 8300, some of the defendants structured financial
   transactions. Real [sic] personal property was bought with the
   proceeds from drug-related activities and was often held in nominee
   names to prevent law enforcement from determining the source of the
   proceeds and the location of the property.


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      The defendants and others attempted to persuade coconspirators
      to withhold information from investigators and the
      Grand Jury for the Northern District of Alabama. The defendants
      prepared false affidavits for co-conspirators, and attempted to
      persuade co-conspirators to give false statements to law enforcement
      and perjure themselves before the Grand Jury.


      On March 19, 1996, the court dictated into the record its attribution of
drug quantities to the members of the conspiracy found guilty under Count 2 of
the indictment. The court expressly found that all of the defendants convicted
under Count 2 were actively involved in the conspiracy at least as early as May
1, 1994, and remained engaged in criminal activity related to the conspiracy until
May 25, 1995. As a result of each defendant’s acts in furtherance of the
conspiracy, and as a result of reasonably foreseeable acts on the part of other
conspiracy members in furtherance of the conspiracy, a quantity in excess of 2.3
kilograms of cocaine base or crack cocaine was attributed to each of such
defendants, including Roderick Dewayne Means, for purposes of sentencing.
Further, with regard to seven of the numerous members of the conspiracy,
including Roderick Dewayne Means, the court found that each of those
defendants (excluding defendants Antonio King and Jessie Turner) was also a
member of the conspiracy from January 22, 1993, until May 1, 1994. As a result
of such defendants’ acts during that time frame in furtherance of the conspiracy
and as a result of reasonably foreseeable acts on the part of other conspiracy
members in furtherance of the conspiracy, a quantity in excess of 2.7 additional
kilograms of cocaine base or crack cocaine was attributable to each of those
defendants, including Roderick Dewayne Means, for purposes of sentencing.
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Such amounts were premised on the March 19, 1996, conservative findings by
the court as to daily sales (seven days a week) of at least six grams (sixty dime
bags) of crack cocaine from at least one of the crack houses for the relevant time
frame. Thus, on March 19, 1996 the court attributed to each defendant who was
a member of both conspiracies, including movant Roderick Dewayne Means, a
quantity in excess of 5.0 kilograms of cocaine base or crack cocaine.


         In May 2007, the U. S. Sentencing Commission (U.S.S.C.) submitted a
group of proposed amendments to the Sentencing Guidelines as they have done
annually since 1987. One of these amendments, #706, represented the U.S.S.C.’s
attempt to mitigate the sentencing disparity for defendants convicted of crack
cocaine offenses as opposed to powder cocaine offenses. In the absence of
congressional action to amend the 100:1 ratio found in the Title 21 statutes, the
U.S.S.C. proposed a method to reduce the potential sentences by lowering the
applicable guidelines for quantities of crack by two levels, thereby creating a
ratio ranging from about 25:1 to about 80:1 within the Guidelines framework.
         All of the proposed amendments, including the crack amendment, became
effective on November 1, 2007. 3 Then in December 2007, following a period of
public discussion, the U.S.S.C. decided to make the crack amendment retroactive.
The effective date for retroactive application of the crack amendment became
March 3, 2008. The U.S.S.C. also amended Guideline § 1B1.10 to include the
crack amendment (hereinafter referred to as “the amended policy statement”). As
such, as of March 3, 2008, the crack amendment and amended policy statement
apply to all relevant sentences, old and new. All of this was done pursuant to the


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     At this point, the crack amendment had no retroactive application.
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U.S.S.C.’s authority found at 28 U.S.C. § 994(u) and 18 U.S.C. § 3582(c).
      With that background, the court now turns to the current motion (Doc.
#1677) of Roderick Dewayne Means to modify his term of imprisonment under
18 U.S.C. § 3582(c)(2). The motion seeks the benefit of the crack amendment
and the amended policy statement. The focus of the § 3582(c)(2) motion is the
LIFE terms of imprisonment imposed upon movant under Counts 2, 5, 11, 99,
100, and 103.
      The relevant custodial penalties for movant under Counts 2, 5, and 11 are
set forth at 21U.S.C. §§ 846 and 841 (b)(1)(A). The custodial statutory range for
movant’s sentence under these counts was not less than 10 years and not more
than life. The relevant custodial penalties for movant under Counts 99,100, and
103 are set forth at 21U.S.C. §§ 860 and 841 (b)(1)(A). Movant’s base offense
level was 38 and his total offense level was level 43. The guideline range for
these counts was a LIFE sentence. As noted earlier, the court on March 19, 1996,
expressly found that movant was actively involved in the Count 2 conspiracy
continuously for a period that began as early as January 22, 1993 and remained
in the criminal activity related to the conspiracy until May 25, 1995. As a result
of his acts, during that period in furtherance of the conspiracy, the court expressly
attributed to him a quantity in excess of 5.0 kilograms of cocaine base or crack
cocaine. This attribution was confirmed while imposing the sentence on movant
on May 29, 1996.
      Relying on 18 U.S.C. § 3582(c)(2), movant now seeks a reduction of his
sentence of Life imprisonment. He claims entitlement to that reduction under
Amendment 706 which became effective November 1, 2007, and which, as of
March 3, 2008, became retroactively applicable. His base offense level was 38
at the time of his sentencing on May 29, 1996. Because the amount of crack
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attributed to movant exceeded 4500 grams, movant’s base offense level under
Amendment 706 remained a level 38 under U.S.S.G § 2D1.1(c)(1), and the
applicable guideline range was not lowered. Consequently, the motion for a
reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2) is due to be denied.4 See
United States v. James, 2008 WL 4867909 (C.A. 11 (Fla)); United States v.
Walker, 2008 WL 5007201 (C.A. 11 (Fla)). A separate order will be entered
denying the motion. Movant’s attention is directed to the “Notice Concerning
Appeals” set out below.
                        NOTICE CONCERNING APPEALS

         A § 3582(c)(2) motion is a continuation of the criminal proceeding;
therefore, a notice of appeal must be filed within ten days from the entry of the
judgment or order being appealed. See, United States v. Fair, 326 F.3d 1317,
1318 (11th Cir.2003); United States v. Starks, 2008 WL 351386 (11th Cir. 2008);
Fed. R. App. P. 4(b)(1)(A)(i). If movant was represented by appointed counsel
at trial or on appeal, movant is not required to file a new application to proceed
in forma pauperis on appeal from the ruling on the § 3582(c)(2) motion. If
movant was represented by retained counsel at trial or on direct appeal but
believes he is now unable to afford counsel, movant should file an application
to proceed in forma pauperis (accompanied by a certified copy of prison account
statements for the last six months) when he files notice of appeal from the ruling
on the § 3582(c)(2) motion. The Clerk is DIRECTED to provide movant with an
application to proceed in forma pauperis form.
         DONE this the       12th         day of January, 2009.



                                      SENIOR UNITED STATES DISTRICT JUDGE

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  The court is satisfied that the sentences imposed were reasonable sentences and not
greater than necessary to comply with the statutory purposes of sentencing, as set out in 18
U.S.C. § 3553(a).
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